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                                                                                   FORFEITURE AMOUNT ATTRIBUTED TO LEONARD LUTON

DATE                                                                                                     TRIAL                                                                              CASH/
            NAME OF                                                                             ADDN'L                                                                                                          SHIP       SHIP
(on or                             ADDRESS                    S.O. BANK          S.O. AMT               VERSION                    BATES                        COMMENT                    CHECK/                                   OTHER BATES NO
           RECIPIENT                                                                           AMNT DUE                                                                                                         COST      METHOD
about)                                                                                                  AMOUNT                                                                             PHONE
                             4370 Wimbleton Dr Apt 8,                                                                                                                                                                              Name & Address of S.O. &
03/26/18   Sandra Pitcher                                      Safeway/cash         1,960.00                  1,960.00              WU_2                                                  Western Union
                               Grandville MI 49418                                                                                                                                                                                      Pitcher: WU_2
                             4370 Wimbleton Dr Apt 8,                                                                                                                                                                              Name & Address of S.O. &
03/27/18   Sandra Pitcher                                      Safeway/cash         1,960.00        39.20     1,999.20              WU_2                                                  Western Union
                               Grandville MI 49418                                                                                                                                                                                      Pitcher: WU_2
                                                                                                                                   WU_2
                             4370 Wimbleton Dr Apt 8,                                                                                                                                                                              Name & Address of S.O. &
03/27/18   Sandra Pitcher                                      Safeway/cash         1,960.00                  1,960.00   Bank Support: FLG_9 (Pitcher                                     Western Union
                               Grandville MI 49418                                                                                                                                                                                      Pitcher: WU_2
                                                                                                                               check to Luton)
                                                                                                                             Bank Stmnt: BEP_4
                                                                                                                            Bank Support: BEP_9
                                                                                                                                                           $5,000 Cashier's Check to
                             4370 Wimbleton Dr Apt 8,                                                                            (CC/Cash)                                                                                         Name, Address, & Ship Cost:
03/27/18   Sandra Pitcher                                       Bank of EP          3,006.00      1,994.00    5,000.00                                   Sandra Pitcher. $6 Fee. $3,006        cash         $     15.90    UPS
                               Grandville MI 49418                                                                                                                                                                                        INV_1955
                                                                                                                                                              w'l. $2,000 Cash in.
                                                                                                                         Bank Support: FLG_9 (Pitcher
                                                                                                                                check to Luton)
                                                                                                                         Bank Support: INV_1760-1761;
                                                                                                                             Bank Stmnt: BEP_44
                             4370 Wimbleton Dr Apt 8,
03/29/18   Sandra Pitcher                                       Bank of EP          9,095.75                  9,095.75 Bank Stmnt: HNB_120 (Pitcher               COUNT 2                 cashier's check
                               Grandville MI 49418
                                                                                                                                   Acct)
                                                                                                                       Bank Support: HNB_9 (Pitcher
                                                                                                                                   Acct)
                                                                                                                          Bank Stmnt: PMCU_23
                                                                                                                         Bank Support: PMCU_119
                             4368 Wimbleton Dr Apt 8,
04/02/18   Sandra Pitcher                                   Premier Members CU     28,002.00                 28,002.00    Bank Stmnt: FLG_16 (Pitcher                                         check                        UPS         Address: INV_1694
                               Grandville MI 49418
                                                                                                                                     Acct)
                                                                                                                         Bank Support: FLG_10 (Pitcher
                                                                                                                                     Acct)
                                                                                                                            Bank Stmnt: PMCU_23
                                                                                                                           Bank Support: PMCU_120
                                                                                                                                                                 COUNT 3
                             4369 Wimbleton Dr Apt 8,
04/03/18   Sandra Pitcher                                   Premier Members CU      9,097.75                  9,097.75      Bank Stmnt: HNB_120          $9,095.75 check disbursed to     cashier's check
                               Grandville MI 49418
                                                                                                                                 (Pitcher Acct)             Sandra Pitcher. $2 fee
                                                                                                                         Bank Support: HNB_10 (Check,
                                                                                                                                  Pitcher Acct)
                                                                                                                            Bank Stmnt: PMCU_23
                                                                                                                           Bank Support: PMCU_111
                             4370 Wimbleton Dr Apt 8,                                                                                                     $20,000 check disbursed to
04/10/18   Sandra Pitcher                                   Premier Members CU     20,000.00                 20,000.00    Bank Stmnt: FLG_16 (Pitcher                                         check                        UPS         Address: INV_1694
                               Grandville MI 49418                                                                                                              Sandra Pitcher
                                                                                                                                     Acct)
                                                                                                                         Bank Support: FLG_11 (Pitcher
                                                                                                                                     Acct)
                                854 N Tacoma Apt C,                                                                                                                                                                                Name, Address & Ship Cost:
05/23/18   John Anderson                                                           10,000.00                 10,000.00                                                                         cash         $     49.19    UPS
                                Allentown, PA 18109                                                                                                                                                                                       INV_1950
                            35 N 14th St Apt 9,Allentown,                                                                                                                                                                          Name, Address & Ship Cost:
05/24/18    Paul Wither                                                            10,000.00                 10,000.00                                                                         cash         $     49.19    UPS
                                     PA 18102                                                                                                                                                                                             INV_1951
                                                                                                                            Bank Stmnt: PMCU_30
                            172-42 Brocher Rd, Jamaica,
05/29/18   John Anderson                                    Premier Members CU      9,000.00                  9,000.00     Bank Support: PMCU_125                                                                          FedEx   Name & Address: INV_1580
                                    NY 11434
                                                                                                                                   (Cash)
                                                                                                                            Bank Stmnt: PMCU_30
                            172-42 Brocher Rd, Jamaica,
05/30/18   John Anderson                                    Premier Members CU     10,000.00                 10,000.00     Bank Support: PMCU_126                                                                          FedEx   Name & Address: INV_1586
                                    NY 11434
                                                                                                                                   (Cash)


                                                                                                                             1                                                                                               ATTACHMENT G
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DATE                                                                                                        TRIAL                                                                       CASH/
            NAME OF                                                                                ADDN'L                                                                                                   SHIP       SHIP
(on or                                ADDRESS                    S.O. BANK          S.O. AMT               VERSION                BATES                     COMMENT                    CHECK/                                   OTHER BATES NO
           RECIPIENT                                                                              AMNT DUE                                                                                                  COST      METHOD
about)                                                                                                     AMOUNT                                                                      PHONE
                                                                                                                            Bank Stmnt: PMCU_34
                              172-42 Brocher Rd, Jamaica,                                                                 Bank Support: PMCU_127
06/04/18    John Anderson                                      Premier Members CU     15,000.00              15,000.00                                                                                                 FedEx   Name & Address: INV_1581
                                      NY 11434                                                                                      (Cash)
                                                                                                                         Cash Receipt Form: PMCU_70

                                                                                                                             Bank Stmnt: BCO_62
                                                                                                                         Bank Support: BCO_64 (Cash)
                              172-42 Brocher Rd, Jamaica,                                                                                                                                                                      Name, Address, & Ship Cost:
06/07/18    John Anderson                                          Bank of CO          5,000.00               5,000.00                                                                    cash          $     49.30    UPS
                                      NY 11434                                                                                                                                                                                        INV_1944
                                                                                                                         Bank Support: BOA_450-451
                                                                                                                                (Luton Acct)
                              172-42 Brocher Rd, Jamaica,                                                                   Bank Stmnt: BCO_33                                                                                 Name, Address, & Ship Cost:
06/07/18    John Anderson                                          Bank of CO          4,000.00               4,000.00                                                                    cash                         UPS
                                      NY 11434                                                                           Bank Support: BCO_35 (Cash)                                                                                  INV_1944
                              172-42 Brocher Rd, Jamaica,                                                                                                                                                                      Name, Address, & Ship Cost:
06/07/18    John Anderson                                                              6,000.00               6,000.00                                                                    cash                         UPS
                                      NY 11434                                                                                                                                                                                        INV_1944
                                                                                                                            Bank Stmnt: BCO_26
                              132 School Street, Manchester,                                                                                           $25,000 Cashier's Check to
07/06/18   Whittas Trucking                                        Bank of CO         25,000.00              25,000.00   Bank Support: BCO_28 & 30                                   cashier's check                   FedEx   Name & Address: INV_1582
                                       CT 06040                                                                                                             Wittas Trucking
                                                                                                                                    (CC)
                                                                                                                           Bank Stmnt: PMCU_38
                              172-42 Brocher Rd, Jamaica,
07/09/18     Frank White                                       Premier Members CU      5,000.00               4,000.00    Bank Support: PMCU_130                                          cash                         FedEx   Name & Address: INV_1585
                                      NY 11434
                                                                                                                                   (Cash)
                              132 School Street, Manchester,
07/17/18     Frank White                                           credit card         2,307.00               2,307.00                                                              2 Verizon iPhones                  UPS         Address: INV_1694
                                       CT 06040
                                                                                                                       Bank Stmnt: BCO_22 ($30,000
                              132 School Street, Manchester,
07/23/18    Lloyd Wessom                                           Bank of CO         15,000.00              15,000.00    check split into two CC)                                   cashier's check                   UPS         Address: INV_1694
                                       CT 06040
                                                                                                                        Bank Support: BCO 71-72
                                                                                                                       Bank Stmnt: BCO_22 ($30,000
                              132 School Street, Manchester,
07/23/18    Lloyd Wessom                                           Bank of CO         15,000.00              15,000.00    check split into two CC)                                   cashier's check                   UPS         Address: INV_1694
                                       CT 06040
                                                                                                                        Bank Support: BCO 71-72
                              172-42 Brocher Rd, Jamaica,                                                                  Bank Stmnt: BEP_67
07/27/18     Frank White                                           Bank of EP         20,000.00              20,000.00                                        COUNT 5                     cash                         UPS         Address: INV_1694
                                      NY 11434                                                                         Bank Support: BEP_69 (Cash)
                              172-42 Brocher Rd, Jamaica,                                                                                                                                                                      Name & Address: FEDX_15
08/10/18     Frank White                                                              10,000.00              10,000.00                                                                    cash                         FedEx
                                      NY 11434
                              172-42 Brocher Rd, Jamaica,                                                                   Bank Stmnt: PMCU_43
08/20/18     Frank White                                       Premier Members CU     15,100.00              15,100.00                                                                    cash                         FedEx   Name & Address: FEDX_14
                                      NY 11434                                                                            Bank Support: PMCU_71-72
                              172-42 Brocher Rd, Jamaica,
08/22/18     Frank White                                                              15,000.00              15,000.00                                                                    cash                         FedEx   Name & Address: FEDX_13
                                      NY 11434
                                                                                                                            Bank Stmnt: PMCU_43
                              172-42 Brocher Rd, Jamaica,
08/29/18     Frank White                                       Premier Members CU     14,000.00              14,000.00     Bank Support: PMCU_134                                         cash                         FedEx   Name & Address: FEDX_12
                                      NY 11434
                                                                                                                             (Cash); PMCU 73-74
                                                                                                                            Bank Stmnt: PMCU_43
                              172-42 Brocher Rd, Jamaica,
08/31/18     Frank White                                       Premier Members CU      6,000.00               6,000.00     Bank Support: PMCU_135                                         cash
                                      NY 11434
                                                                                                                                     (Cash)
                               172-42 Brocher Rd, Jamaica,
08/31/18     Frank White                                                              15,000.00              15,000.00                                                                    cash                         FedEx   Name & Address: FEDX_11
                                        NY 11434
                               172-42 Brocher Rd, Jamaica,
09/04/18     Frank White                                                              10,000.00              10,000.00                                                                    cash                         FedEx   Name & Address: FEDX_10
                                        NY 11434
                              204 Fifth Ave., Toms River NJ
09/06/18     Mark White                                            Bank of CO          5,000.00               5,000.00       Bank Stmnt: BCO_53               COUNT 6                     cash                         FedEx   Name & Address: FEDX_9
                                          08757
                                                                                                                          Bank Stmnt: PMCU_48
                              204 Fifth Ave., Toms River NJ
09/06/18     Mark White                                        Premier Members CU     10,000.00              10,000.00  Bank Support: PMCU_136                COUNT 6                     cash                         FedEx   Name & Address: FEDX_9
                                          08757
                                                                                                                                  (Cash)
                              204 Fifth Ave., Toms River NJ                                                                Bank Stmnt: BCO_15
09/25/18    John Anderson                                      Premier Members CU     20,000.00              20,000.00                                        COUNT 7                     cash                         FedEx   Name & Address: FEDX_8
                                          08757                                                                        Bank Support: BCO_17 (Cash)


                                                                                                                            2                                                                                            ATTACHMENT G
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DATE                                                                                               TRIAL                                                                            CASH/
            NAME OF                                                                       ADDN'L                                                                                                         SHIP        SHIP
(on or                             ADDRESS                  S.O. BANK      S.O. AMT               VERSION                  BATES                      COMMENT                      CHECK/                                            OTHER BATES NO
           RECIPIENT                                                                     AMNT DUE                                                                                                        COST       METHOD
about)                                                                                            AMOUNT                                                                           PHONE
                           450 Chaplin Ln, Estes Park CO
10/02/18    Frank White                                                      65,000.00                  65,000.00                                                                      cash                         hand-delivered
                                       80517
                           204 Fifth Ave., Toms River NJ
10/11/18   John Anderson                                                     10,000.00                  10,000.00                                                                      cash                            FedEx         Name & Address: FEDX_6
                                       08757
                           204 Fifth Ave., Toms River NJ                                                              Bank Stmnt: BCO_50
10/11/18   John Anderson                                     Bank of CO       5,000.00                   5,000.00                                                                      cash
                                       08757                                                                      Bank Support: BCO_52 (Cash)
                              1307 Pacific St., Apt 6D,                                                            Purchase receipt: INV_1215
10/22/18   John Anderson                                     credit card      2,718.94                   2,718.94                                        COUNT 8                2 iPhone XS phones                     FedEx         Name & Address: FEDX_4
                                Brooklyn, NY 11216                                                                   Credit card: INV_1256
                               1307 Pacific St., Apt 6,                                                            Purchase receipt: INV_1216
10/30/18   John Anderson                                     credit card      2,718.90         0.04      2,718.94                                        COUNT 9                2 iPhone XS phones                     FedEx         Name & Address: FEDX_2
                                Brooklyn, NY 11216                                                                   Credit card: INV_1674
                           204 Fifth Ave., Toms River NJ
11/05/18   John Anderson                                                     15,000.00                  15,000.00                                                                      cash                             UPS             Address: INV_1694
                                       08757
                           443 Tompkins Ave., Brooklyn,
11/07/18    Tom White                                                        15,000.00                  15,000.00                                       COUNT 10                       cash                             UPS             Address: INV_1694
                                     NY 11216
                                                                                                                                                 Per S.O. chart, Tom White at
11/08/18                                                                     20,000.00                                                          443 Tompkins Ave., Brooklyn,           cash
                                                                                                                                                          NY 11216

                                                                                                                                                                                    TOTAL
                                                            SUBTOTAL        481,926.34      2,033.24   462,959.58                                                                                    $     163.58
                                                                                                                                                                                   SHIPPING

                                                               TOTAL
                                                            FORFEITURE      484,123.16
                                                              AMOUNT




                                                                                                                      3                                                                                                   ATTACHMENT G
